
15 Ill. App.3d 606 (1973)
304 N.E.2d 662
THE PEOPLE OF THE STATE OF ILLINOIS, Plaintiff-Appellee,
v.
LARRY BROWN, Defendant-Appellant.
No. 57594.
Illinois Appellate Court  First District (1st Division).
October 22, 1973.
*607 Tyce S. Smith and Allan Ackerman, both of Chicago, for appellant.
Bernard Carey, State's Attorney, of Chicago, (Kenneth L. Gillis and Barry Rand Elden, Assistant State's Attorneys, of counsel,) for the People.
Abstract of Decision.
Judgment affirmed.
